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IN THE UNITED sTATEs DISTRICT CoURT F!LED BY .._%o.c.
FoR THE wEsTERN DISTRICT 0F TENNEssEE

 

WESTERN DIVISION 05 AUG 29 PH 3= 116
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rRoY L. vAUGHAN, JR., CLERK US- YY`M?T COWT
W,® tr ;:.L ms
Plaintiff,
v. No. 03-2470 Ma v

MEMPHIS HEALTH CENTER, INC.,

Defendant.

 

JOINT PRETRIAL ORDER

 

COME NOW the parties With their Joint Pretrial Order in the above referenced matter.
A pretrial conference was held on Friday, August 19, 2005, at 9:00 a.rn. at the United States
District Courthouse in Memphis, Tennessee before the Honorable Sarnuel H. Mays, Jr. Present
and representing plaintiff Was David M. Rudolph of the law firm of Martin, Tate, Morrow &
Marston, P.C. Present and representing defendant Was Florence M. Johnson and Pamela
McFarland Brown.

JURISDICTIONAL QUESTIONS

Jurisdiction has been conceded by the parties and should be found by the Court to be

present pursuant to 28 U.S.C. § 1331.
MOTIONS PENDING

l. Plaintiff’s Motioo in Limine to Exclude Any Evidence of Prior Discrimination
Lawsuits against Former Employer, filed 2/14/05. Plaintiff moved in limine to exclude any
evidence at trial by Defendant Mernphis Health Center, Inc. of two prior discrimination lawsuits

filed by Plaintiff against his former employer The University of Tennessee and various University
T` is document entered on the dock t sheet in co pllance
I\ ,
with Rule 58 and}or 79(a) FRCP on ___§_B.J_'&-

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officials on the grounds of relevance (Fed. R. Evid. 402) and undue prejudice (Fed. R. Evid. 403).
Defendant contends that the prior discrimination lawsuits are relevant and not unduly prejudicial

2. Plaintiff’s Motion in Limine to Exclude Evidence of Tennessee Human Rights
Cornmission Charge Determination, filed 2/14/05. Plaintiff moved in limine to exclude any
evidence of the Tennessee Human Rights Commission charge determination on the grounds of
undue prejudice (Fed. R. Evid. 403). Defendant contends that evidence of the charge
determination is not unduly prejudicial

3. Plaintiff’s Motioo in Limine to Exclude Evidence of Receipt of Collateral
Source Benefits, filed 2/14/05. Plaintiff moved in limine to exclude any evidence at trial by
Defendant of the receipt by Plaintiff of unemployment compensation, Social Security retirement,
pension, veterans’ disability and other collateral source benefits on the grounds of relevance (Fed.
R. Evid. 402). Defendant contends that these benefits are relevant and should be admitted into
evidence

4. Defendant’s Motioo in Limine to Exclude Any Testimony Surrounding United
States of America v. Gregory Graot and Magnolia Transportation, Inc., filed 1/4/05.
Defendant moved in limine to exclude any testimony at trial surrounding the litigation involving
its former Board Chainnan/witness Gregory Grant, styled United States of Amerz'ca v. Gregory
Granr and Magnolz`a Transportation, Inc. on the grounds of relevance (Fed. R. Evid. 402); undue
prejudice (Fed. R. Evid. 403); hearsay (Fed. R. Evid. 802); and impermissible character evidence
(Fed. R. Evid. 404). Plaintiff contends that Gregory Grant perjured himself regarding this federal
litigation at his deposition and is subject to impeachment regarding same should he testify at trial.

5. Defendant’s Opposition to the Plaintiff’s Rule 34 Request to Inspect and

Plaintiff’s Requests for Admissions, filed 1/5/05. Defendant contends that Plaintiff should not

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be able to use its failure to respond to Plaintiff’ s Requests for Admissions because the parties
discussed staying discovery when Defendant failed to respond to Plaintiff’ s previous motion for
default judgment and sanctions Plaintiff contends that discovery was never stayed by the Court
and that Defendant failed to respond to Plaintiff s Requests for Admissions within the thirty days
provided by the Federal Rules of Civil Procedure.

6. Defendant’s Motion in Limine to Exclude Any Testimony of Entitlement to
Front Pay and Liquidated Damages, filed 1/20/05. Defendant moved in limine to exclude any
evidence of entitlement to front pay and liquidated damages, contending that Plaintiff is not
entitled to same. Plaintiff contends that reinstatement is not viable and that he is entitled to front
pay in order to be made whole. Plaintiff also contends that he will offer evidence of a willful
violation for purposes of liquidated damages

7. Defendant’s Motion in Limine and Objections to Plaintifi’s Exhibits 2, 6-14,
filed 1/20/05. Defendant moves in limine, objecting to certain of Plaintiff’s proposed exhibits in
the previous version of the Joint Pretrial Order. Plaintiff contends that the exhibits are
admissible

M.QW

This is an age discrimination lawsuit brought by Plaintiff Troy Vaughan under the Age
Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621, e_t _s§q; (“ADEA").
Plaintiff alleges that he was discriminated against by Defendant Memphis Health Center with
respect to hiring for two separate positions of Chief Operations Officer and Human Resources
Director with Defendant in 2001 and 2003. As to each position, Plaintiff contends he was more
qualified than Leon Dishrnon (who was the person selected) and that Mr. Dishmon was

substantially younger than Plaintiff. Plaintiff further contends that Leon Dishmon did not meet the

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minimum qualifications for the positions Instead Plaintiff alleges that age was a determining
factor in Defendant’s refusal to hire him for the two positions Plaintiff asserts that he incurred
damages because of the alleged age discriminationl

Defendant denies that any age discrimination occurred with respect to Plaintiff and the two
positions Defendant contends that Leon Dishrnon was a more qualified candidate for each
position than Plaintiff. Defendant denies that Plaintiff incurred any damages for which it is
responsible

CONTENTIONS OF THE PARTIES
1) Plaintiff’s Contentions

This is an age discrimination lawsuit by Plaintiff Troy Vaughan under the Age
Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621, e_t M (“ADEA”).
Plaintiff was born on September 8, 1938 and is currently sixty-five (65) years old. The lawsuit
involves discrimination in hiring for two separate positions with Defendant Memphis Health
Center in 2001 and 2003. Plaintiff contends that Defendant cannot (and has not) articulated
through admissible evidence the legitimate, non-discriminatory reasons for the two hiring
decisions affecting Plaintiff As such, Plaintiff believes that he is entitled to judgment as a matter
of law.

On November 15, 2000, Defendant posted a job opening for a vacant Chief Operations
Offtcer position, The closing date for applications was December 1, 2000. After the job opening
posting in November 2000, Plaintiff timely applied for the vacant Chief Operations Officer
position with Defendantl Plaintiff more than possessed the minimum qualifications for the posted
Chief Operations Officer position, based on his educational background and extensive

management experience in health care with the University of Tennessee Health Science Center in

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Memphis.

In late December 2000, Colleen Gibson and Virginia Richardson interviewed Plaintiff for
the vacant Chief Operations Ofticer positionl At the time, Colleen Gibson was the Chief
Executive Officer of Defendant, while Virginia Richardson was the Manager of Human Resources
of Defendant At the interview, Plaintiff was told that he was one of two persons being
interviewed for the position, Plaintiff was also told at the interview that he was going to be hired
for the Chief Operations Offtcer position and was asked when he could start employment with
Defendant Defendant hired Leon Dishmon instead of Plaintiff for the Chief Operations Officer
position in October 2001.

Leon Dishmon did not meet the minimum job qualifications as stated in the posted job
opening, nor did he possess the job qualifications educational background and experience that
Plaintiff had for the position, ln addition, Leon Dishmon is substantially younger than Plaintiff.
Mr. Dishmon’s birth date is December ll, 1954. At the time Mr. Dishmon was hired for the Chief
Operations Officer position, he was 46 years old while Plaintiff was 62 years old.

After Plaintiff was denied the position, he formally complained in November 2001 to the
Memphis Health Center Board of Directors and sent a copy of the complaint letter to
Chairman-Elect Gregory Grant. Subsequently, Chairman Grant sought to meet with Plaintiff
regarding his discrimination claim. At a meeting at Mississippi Boulevard Christian Church,
Chairman Grant admitted to Plaintiff in late September/ early October 2002 that Defendant had
“discriminated” against Plaintiff. Chairman Grant told Plaintiff: “[Y]ou’ve been discriminated
against . . . you should have been hired in the COO position and I’ve done an investigation, you've
been discriminated against." Mr. Grant further told Plaintiff that “we’re going to post the Director

of Human Resources and we Want you to take it.”

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In February 2003, after seeing a newspaper advertisement, Plaintiff applied for the position
of Human Resources Director of Defendant Defendant admitted in its Answer that Plaintiff
applied for the position, Defendant subsequently selected Leon Dishmon in February 2003 for
that position as well. Mr. Dishmon had earlier been terminated from the Chief Operations Officer
position with Defendant for serious misconduct relating to the release of confidential bid
information to a bidder for certain work for Defendant Again, Leon Dishmon was substantially
younger than Plaintiff, did not meet the minimum qualifications and was not as qualified as
Plaintiff for the Human Resources Director position with Defendant, particularly in light of the
serious misconduct for which he had been recently terminated by Defendant. lnstead Plaintiff
contends that his age was a determining factor in Defendant’s refusal to hire him for the Human
Resources Director position.

Plaintiff seeks damages in the form of back pay he should have received had he been hired
for the Chief Operations Officer and Human Resources Director positions Plaintiff seeks an
additional amount of liquidated damages in the same amount of back pay for Defendant’s willful
violations of the age discrimination law. Plaintiff also seeks front pay for future years until
retirement in which he would have received income for the Chief Operations Officer and Human
Resources Director positions
2) Defendant's Contentions

Plaintiff cannot present any direct evidence of discrimination Therefore, Plaintiff can only
prove discrimination through “circurnstantial evidence that would allow an inference of
discriminatory treatment” and the McDonnell Douglas/Burdine burden shifting analysis must be
applied If the Plaintiff can present a prima facie case, the burden shifting provisions of

McDonnell Douglas take effect and the Defendant must articulate a legitimate non-discriminatory

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reason for the challenged employment action. St. Marv’s Honor Center vs Hicks, 509 U.S. 502,

507, 113 S. Ct. 2742, 2747, 125 L. Ed. 2d 407 (1993); Burdine 450 U.S. at 254; Bauer, 169 F.3d

 

 

at 966. The Plaintiff must show that:

(1) he was not hired

(2) he was qualified for the position he sought

(3) he was in the protected class at the time of the failure to hire or promote and

(4) the position he sought was filled by someone outside the protected class
The Plaintiff alleges that he sought the positions of Chief Operating Officer and Human Resources
Director in 2000 and 2003 respectively

The Plaintiff fails to establish that he was not more qualified for the position of COO than
the selectee. Plaintiff alleged that he was more qualified than Dishrnon but Plaintiff has no
knowledge of the work background or experience of Dishmon other than his unfounded belief that
Dishmon did not have five years of management experience in a health related field. While the
Plaintiff may believe he was more qualified than Dishmon, Plaintiff’s Subjective belief is not
enough to satisfy the second and fourth prongs of the McDonnell Douglas test. See, Lomax vs.

Sears and Roebuck & Co., 2000 WL 1888715 at *4 (6th Cir. Dec. 19, 2000). Plaintiff`s ADEA

 

claim must be dismissed because Plaintiff cannot prove a prima facie case of discrimination

The second position that the Plaintiff claims that he was discriminated in is that of Human
Resources Director. Plaintiff cannot establish the prima facie claim as he failed to even apply for
the position of Human Resources Director. Courts have held that to establish a prima facie case
the plaintiff must show that he applied for the job. The Plaintiff who does not apply for the
position cannot assert a prima facie case of discrimination The Plaintiff has produced no

evidence that he applied for the position of Human Resources Director and does not recall what

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documentation he submitted to apply for the HRD job. The Defendant contends that the Plaintiff
never submitted and application for the position of HRD and thus cannot make out a prima facie
case of discrimination based on age with regard to this position

Even if Plaintiff is able to satisfy his burden of proving the elements of a prima facie case
of discrimination, Memphis Health Center had a legitimate, nondiscriminatory reason for not
hiring the Plaintiff for the position of Chief Operations Officer, Plaintiff was not the most
qualified applicant It has been shown that Dishmon received the position because he was the
most qualified applicant for the position of Chief Operations Officer. “Title VII does not diminish
lawful traditional management prerogatives in choosing among qualified candidates.” Wrenn vs
_Gle, 808 F.2d 493, 502 (6th Cir. 1987) (citation omitted). “So long as it reasons are not
discriminatory, an employer is free to choose among qualified candidates Ia'.” The Plaintiff
cannot rebut the Defendant’s proffered explanation for their actions

Plaintiff has produced no evidence to contradict the reasoning given by the Memphis
Health Center for its desire to hire Dishmon over Plaintiff. Dishmon was hired because his
background and experience were consistent with the essential hinctions of the position Also he
Was selected because of his ability to effectively articulate specific goals, actions plans and
timelines for each of the departments Plaintiff has no evidence to show that the stated reasons for
choosing Dishmon were false. As previously mentioned, Dishmon’s qualification include more
than five (5) years of health care experience and he applied for the COO position within the
appropriate time frame.

While the Plaintiff simply believes that he was more qualified than Dishmon, the Plaintiff
does not have any other reason to believe that would have gotten the COO position. This

explanation is not enough to dispel the Memphis Health Center’s Stated explanation for choosing

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Dishmon over Vaughn. The burden to establish pretext is high. It is not enough to disbelieve the
employer; the fact finder must believe the plaintiff’ s explanation of intentional discrimination L
MLy’s Honor Center, 509 U.S. at 512, n. 4.

Furthermore, the Defendant contends that the Memphis Health Center has in place strong
policies on discrimination and this includes reporting allegations of discrimination based on age.
Plaintiff did nothing to report his allegations through this system and as such his claims of age
discrimination are barred.

UNCONTESTED ISSUES OF FACT

l. Troy Vaughan was born on September 8, 1938.

2. Leon Dishmon was born on December ll, 1954.

Plaintiff further contends that the following additional issues of fact are uncontested
because they have been admitted by Defendant when it failed to respond to Plaintiff"s First
Requests for Admissions, served by mail on August 16, 2004:

3. In October 2001, the annual salary for the Chief Operations Officer position at
Memphis Health Center, Inc. Was 868,000.00.

4. In April 2003, the annual salary for the Human Resources Manager position at
Memphis Health Center, lnc. was $64,064.00.

5 . Defendant’s Bates Stamp No. D-0160-61 is a true and genuine copy of a letter
dated January 30, 2002 from Colleen P. Gibson, Chief Executive Officer of Memphis Health
Center, lnc., to Leon Dishmon,

6. At the time Defendant’s Bates Stamp No. D-0160-6l was written, Colleen P.

Gibson was the Chief Executive Officer of Memphis Health Center, Inc.

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7. Defendant’s Bates Stamp No. D-0120 is a true and genuine copy of a letter dated
February 8, 2002 from Colleen Gibson, Chief Executive Officer of Memphis Health Center, lnc.,
to Leon Dishmon

8. At the time Defendant’s Bates Stamp No. D-0120 was written, Colleen P. Gibson
was the Chief Executive Officer of Memphis Health Center, Inc.

9. On April 10, 2001, Leon Dishmon applied for the Chief Operations Officer
position at Memphis Health Center, lnc.

10. Defendant’s Bates Stamp No. D-0155-59 is a true and genuine copy of a resume
submitted by Leon Dishmon to Memphis Health Center with respect to the Chief Operations
Officer position

Defendant contends that there are no other uncontested issues of fact. Defendant denies
that the Plaintiff’s Request for Admissions should be deemed admitted as Defendant has opposed
the admission of each and every fact to be admitted

CONTESTED ISSUES OF FACT

Plaintiff’s Contested Issues of Fact

1. Whether Leon Dishmon met the minimum qualifications for the Chief Operations
Officer position,

2. Whether Leon Dishmon met the minimum qualifications for the Human Resources
Director position

3. Whether Plaintiff possessed more job qualifications educational background and
experience than Leon Dishmon for the Chief Operations Officer position,

4. Whether Plaintiff possessed more job qualifications, educational background and

experience than Leon Dishmon for the Human Resources Director position

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5. Whether Plaintiff formally complained of age discrimination in November 2001 to
the Memphis Health Center Board of Directors and sent a copy of the discrimination complaint
letter to Chairman-Elect Gregory Grant.

6. Whether at a meeting at Mississippi Boulevard Christian Church, Memphis Health
Center Board Chairman Grant admitted to Plaintiff in late September/early October 2002 that
Defendant had “discriminated" against Plaintiff and told Plaintiff: “[Y]ou’ve been discriminated
against . . . you should have been hired in the COO position and I’ve done an investigation, you’ve
been discriminated against” and whether Mr. Grant further told Plaintiff in that conversation that
“we’re going to post the Director of Human Resources and we want you to take it.”

DEFENDANT’S CONTESTED ISSUES OF FACT

l. Whether the Defendant, by and through its employees discriminated against the
Plaintiff under the Age Discrimination in Employment Act, 29 U.S.C. 621 et. seq., based on his
age for failure to hire the Plaintiff for the position of Chief Operations Officer in 2000?

2. Whether the Defendant through its agent or employees improperly considered the age
of the Plaintiff as a reason for his non-selection for the position of Chief Operations Officer in
2000?

3. Whether the Plaintiff was actually more qualified for the position of Chief
Operations Officer in 2000 than the selectee?

4. Whether the Plaintiff actually applied pursuant to the application procedure of the
Memphis Health Center for the position of Human Resources Director in 2002?

5. In the alternative if the Plaintiff applied for the position of Human Resources
Director in 2002, whether the Plaintiff was more qualified for the position of Human Resources

Director than the selectee?

ll

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6. Whether the Plaintiff suffered any damages as a result of the any alleged

discrimination based on his age?

7. Whether Plaintiff has sustained a loss of wages and the extent of such loss;
8. Whether or not Plaintiff will sustain a filture loss of wages and the extent of such
loss;
9. Other issues of fact implicit in those set forth above.
CONTESTED ISSUES OF LAW

A. Plaintifi's Contested Issues of Law

l. Whether Defendant has articulated through admissible evidence a legitimate,
nondiscriminatory reason for refusing to hire Plaintiff for the position of Chief Operations Officer
in 2001.

2. Whether Defendant has articulated through admissible evidence a legitimate,
nondiscriminatory reason for refusing to hire Plaintiff for the position of Human Resources
Director in 2003.

3. To the extent that Defendant articulates through admissible evidence a le gitimate,
nondiscriminatory reason for refusing to hire Plaintiff for the position of Chief Operations Officer
in 2001, whether that articulated reason is pretextual

4. To the extent that Defendant articulates through admissible evidence a legitimate,
nondiscriminatory reason for refusing to hire Plaintiff for the position of Human Resources
Director in 2003, whether that articulated reason is pretextual

5. Whether Plaintiff" s age was a determining factor in Defendant’s failure to hire

Plaintiff for the position of Chief Operations Officer in 2001.

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6. Whether Plaintiff’s age was a determining factor in Defendant’s failure to hire

Plaintiff for the position of Human Resources Director in 2003.

7. Whether and to what extent Plaintiff is entitled to damages and relief in this cause.
B. Defendant’s Contested Issues of Law
1. Whether Plaintiff can establish the elements of a prima facie case of age

discrimination based upon the failure to be selected for the position of Chief Operations Officer in
2000;

2. Whether Plaintiff can demonstrate that he was treated less favorably than a
similarly-situated individual from outside the protected class in connection with the non-selection
for the position of Chief Operations Officer in 2000.

3. Whether Plaintiff can establish the elements of a prima facie case of age
discrimination based upon the failure to be selected for the position of Human Resources Director
in 2002.

4. Whether Plaintiff can demonstrate that he was treated less favorably than a
similarly situated individual from outside the protected class in connection with the non-selection
for the position of Human Resources Director in 2002.

5. Whether Defendant, Memphis Health Center is liable under the theory of
respondeat superior for the alleged actions of its employees;

6. Assuming that Plaintiff states a prima facie case of age discrimination, whether
Defendant, Memphis Health Center has articulated a legally sufficient legitimate non-
discriminatory reason for any adverse employment actions it has taken with regard to the Plaintiff;

7. Whether Plaintiff has any evidence to rebut any legitimate non-discriminatory

reason offered by, Defendant, Memphis Health Center;

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8. Whether Plaintiff is entitled to an award of front pay or back and the extent of such
an award;
9. Whether or not Plaintiff has established any wanton or willful conduct on the part

of the Defendant, Memphis Health Center sufficient to establish an award of liquidated damages;

10. Whether or not Plaintiff is entitled to any award of liquidated damages under the
ADEA;

ll. Whether or not Plaintiff has mitigated his damages, if any;

12. Whether Defendant, Memphis Health Center’s good faith efforts to enact and
enforce policies and procedures prohibiting age discrimination should operate to bar Plaintiff’s
liquidated damages claims;

13. Whether Plaintiff is entitled to any award of attorneys fees or costs under ADEA,
29 U.S.C. 621, e_t M

l4. Any issue of law implicit in those set forth above.

EXHIBIT LIST
A. Plaintifl‘s Exhibits:
WILL OFFER
M BATES STAMP NO.
PXl. Chief Operations Officer Job Opening 11/15/00 V0000173
PX2. Trz`-Srare Defender Newspaper Ad l 1/25/ 00 V0000264
for Chief Operations Officer Position
PX3. Troy L. Vaughan Jr. Resume V0000001
PX4. Letter from Troy Vaughan, Jr. to 10/23/01 V000004-5

MHC Board Chair June Chinn-Jones;
cc: Incoming MHC Board Chair Greg
Grant

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PXS. Leon Dishmon Resume

PX6. Defendant’s Answers to Plaintist First
Requests for Production of Documents
(Requests No. 46 & 47)

PX7. Defendant’s Supplemental Answers to Plaintiff’s
First Requests for Production of Documents
(Requests No. 46)

PX8. Memphis Health Center, Inc. Minutes of
Human Resources Committee Meeting

PX9. Memphis Health Center, lnc. Minutes of
Board of Governors Meeting

PXlO. Commercial Appeal Newspaper Ad
for Human Resources Director Position

PXl l. Amended Complaint of Plaintiff
Troy L. Vaughan, Jr.

PX12.' Amended Answer of the Defendant
Memphis Health Center, Inc.

PX13. Second Amended Answer of the Defendant
Memphis Health Center, Inc.

PX14. Defendant’s Answers to Plaintiff’s First Set of
lnterrogatories to Defendant
(Interrogatory Nos. 9, 10, 11, 12, 14 and 15)

PX15. Defendant’s Supplemental Answers to Plaintiff’s
First Set of lnterrogatories (Interrogatory No. 12)

PX16. Letter from MHC CEO Colleen Gibson
to Leon Dishmon re termination

PX17. Letter from MHC CEO Colleen Gibson
to Leon Dishmon re termination

PX18. Plaintiff"s First Request for Admissions

(Request Nos. 1-7; 9 and
EXHIBITS referenced therein)

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2/26/04

3/17/04

12/6/01

12/12/01

2/02/03

ll/19/03

12/18/03

7/7/04

2/19/04

3/17/04

1/30/02

2/08/02

8/16/04

v0000251-55;
D0155-59;

V0000270-72

V0000267-69

V0000018

D0160-61

D0120

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PX19. Table III United States Life Table ('I`enn. Code Ann.)

PX20. Table VI Commissioners 1980 Standard and
1983 Individual Annuity Table (Tenn. Code Ann.)

PX21. F ederal Reserve Board - Publication H. 15
Selected Interest Rates

(*Plaintiff will utilize the most recent weekly rate
in effect at time of trial)

PX22. Table IX Present Value Table (Tenn. Code Ann.)
PX23. Back Pay/liquidated Damages Chart
(COO Position)

PX24. Front Pay Damages Chart
(COO Position)

PX25. Back Pay/Liquidated Damages Chart
(HR Director Position)

PX26. Front Pay Damages Chart
(HR Director Position)

MAY OFFER

PX27. Defendant’s Second Supplemental Answers to Plaintiff"s

First Requests for Production of Documents to Defendant
(Request No. 5)

V00000333-35

V00000333;
336-37

V0000351-52

V00000333;

338-41

V0000353-55

VOOOO3 56-57

V00003 5 8-59

V00003 60~61

3/17/04

Plaintiff reserves the right to offer additional exhibits for rebuttal, demonstrative or

impeachment purposes, including but not limited to various chronologies and timelines, copies of

which are to be provided to opposing counsel Plaintiff further reserves the right to offer any

exhibits listed or offered by the opposing party.

B. Defendant’s Objectioos to Plaintiff’s Exhibits

Defendant does not stipulate to the authenticity of any document and would reserve the

right to address issues of authentication and all other objections under the Federal Rules of

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Evidence at the time that the document is offered. Defendant has stated objections to certain of

Plaintiff’ s exhibits by way of a motion in limine and reserves for trial other objections to

designated deposition testimony

C. Defendant’s Exhibits:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit Documents Bates Stamp Trial
No. No. No.
1 Troy Vaughn Resume V0000001
2 Job Description for Chief Operations Officer D-0006-D-0010
9/ 1999
3 Troy Vaughan Job Search Letters V0000043-
V0000048
4 Job Postings ln Commercial Appeal 2/20/2003 V0000018
5 Job Posting 1 1/25/2000 V0000265
6 Tennessee Human Rights Commission D-0015-D-0024
Questionnaire dates 11/11/2001
7 Tennessee Human Rights Charge of V0000016
Discrimination 200122a
8 Equal Employment Opportunity Commission V0000018
Charge of Discrimination 250-2003-02765
9 Tennessee Human Rights Commission File Duplicate of
EEOC file
10 Equal Employment Opportunity Commission V0000145-
File V0000262

 

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1 1 Employment Procedures for Filing New D-0012-D-0013
Positions

12 Response to Request for lnformation D0033-D0035
11/21/2001 from MHC

13 Letter of 10/2/2001 fi'om Virginia Richardson D-0314

14 MHC Policy on Non-Discrimination D-0002

15 MHC Policy on Equal Employment D-0002
Opportunity

16 MHC Policy of Discrimination D-0003

17 Standards for Recruitment, Selections and D-0004-D-0005
Placement

18 Troy Vaughn Job Search Information V0000041-

V0000049

19 Pictures of the Memphis Health Center D0314-D0320

20 Leon Dishmon Resume D-0086-D-0090

21 UTMHSC Employee File f`or Troy L. Vaughn D-0177D-0313

 

 

 

demonstrative aids and those that may be relevant based on contingencies of the proof adduced at

trial

Defendant reserves the right to add further exhibits for the purposes of rebuttal,

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D. Plair_i§f’s Obiections to Defendant’s Proposed Exhibits

 

1. Troy Vaughan Resume

 

2. Job Description for Chief Operations Officer
9/ 1999

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, Fed. R. Evid. 402.

 

3. Job Description for Human Resources Director

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, Fed. R. Evid. 402. Defendant did
not produce this document during discovery,
despite requests from Plaintiff to do so.

 

4. Job Postings in Commercial Appeal 2/20/2003

 

5. Job Posting 11/25/2000

 

6. Tennessee Human Rights Commission
Questionnaire date 11/11/2001

 

7. Tennessee Human Rights Charge of
Discrimination 200122a

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901. The document has not been
produced in this litigation

 

8. Equal Employment Opportunity Commission
Charge of Discrimination 250-2003-02765

OBJECTION, Hearsay, Fed. R. Evid. 801;
Irrelevant, Fed. R. Evid. 402; Undue Prejudice,
Fed. R. Evid. 403.

 

9. Tennessee Human Rights Commission File

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, 402; Undue Prejudice, Fed. R. Evid.
403; Lack of Specificity as to Exhibits Being
Offered.

 

10. Equal Employment Opportunity Commission
File

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, 402; Undue Prejudice, Fed. R. Evid.
403; Lack of Specificity as to Exhibits Being
Offered.

 

1 1. Employment Procedures for Filing New
Positions

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, Fed. R. Evid. 402.

 

12. Response to Request for lnformation 11/21/2001
from MHC

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801.

 

13. Letter of 10/2/2001 from Virginia Richardson

OBJECTION, Hearsay, Fed. R. Evid. 801.

 

14. MHC Policy on Non-Discrimination

 

15. MHC Policy on Equal Employment Opportunity

 

16. MHC Policy on Discrimination

 

17. Standards for Recruitment, Selections and
Placement

OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, Fed. R. Evid. 402.

 

 

18. Troy Vaughn Job Search lnformation

 

 

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19. Picture of the Memphis Health Center OBJECTION, Irrelevant, 402; Undue Prejudice,
Fed. R. Evid. 403.

 

20, Leon Dishmon Resume

 

 

21. UTMHSC Employee File for Troy L. Vaughan OBJECTION, Lack of Authentication, Fed. R.
Evid. 901; Hearsay, Fed. R. Evid. 801;
Irrelevant, 402; Undue Prejudice, Fed. R. Evid.
403; Lack of Specificity as to Exhibits Being
Offered.

 

 

 

WITNESSES

A. Plaintiff:
WILL CALL
Troy Vaughan (plaintiff)
Leon Dishmon (by live and/or deposition testimony)
Gregory Grant (by live and/or deposition testimony)
June Chinn-J ones
Morristein Holman
MAY CALL
Custodian of Records of Memphis Health Center, Inc.
(Board and Committee Minutes)
Corporate Representative to be named by Defendant
Virginia Richardson
Colleen Gibson

Plaintiff reserves the right to call any witness listed or called by Defendant Plaintiff also
reserves the right to call additional witnesses for rebuttal or impeachment purposes
B. Defendant:
WILL CALL:

Corporate Representative to be named
Virginia Richardson

MAY CALL:
Defendant may call at trial the following witnesses by live testimony or by deposition

(upon a showing of unavailability):

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Troy Vaughan

Gregory Grant

Leon Dishmon

Records Custodian for the University of Tennessee

Representative from the Tennessee Human Rights Commission

Any witness listed by the Plaintiff in his pretrial disclosures or called by the Plaintiff to testify at
trial

Defendant also reserves the right to call additional witnesses for rebuttal or impeachment
purposes

C. Plaintiff’s Objections to Defendant’s Witnesses:

Plaintiff objects to the testimony of Dr. Sandra Randolph on the grounds of Lack of
Personal Knowledge, Rule 602; Hearsay, Rules 802; and Lack of Foundation for Business Record
Exception to Hearsay, Rule 803(6). Plaintiff objects to the Record Custodian for the University of
Tennessee and Representative from the Tennessee Human Rights Commission as witnesses on the
grounds of Relevance, Fed. R, Evid. 402; Undue Prejudice, Fed. R. Evid. 403; Lack of Personal
Knowledge, 602; Hearsay, Fed. R. Evid. 802. At this time, it is unclear why Defendant is offering
these witnesses Plaintiff reserves the right to offer additional objections once the reasons for their
testimony are disclosedl

D. Defendant’s Objections to Plaintiff’s Witnesses:

Defendant objects to the attempt to call the records custodian of the Memphis Health
Center as there is no such person

DEPOSITION TESTIMONY
Plaintiff designates the following excerpts of the Leon Dishmon and Gregory Grant

depositions that may be presented at trial:

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Leon Dishmon
start stop
p.5,1.1 p.5,1. 12

p. 5,1.16 p.5 l. 24
p. 8,1. 17 p. 12, l. 23 (Dep. Ex. 3)

.13,1.19 p. 14,1. 20

"U

p. 16,1. 3 p. 17, 1. 20

.22,1.17 p.23,1. 13

"d

p. 25,1. 3 p. 25,1. 19 (Dep. Exs. 5 and 6)
p. 28,1. 11 p. 30,1. 11 (Dep. Ex. 7)
p. 32,1.2 p. 35, l. 3

p. 35,1. 10 p. 36,1. 21

Gregory Grant

Start stop

p. 5,1.4 p.6,l. 18

p. 8, l. 24 p. 14,1. 14

p. 14,1. 21 p. 17,1. 6

p. 21, l. 6 p. 22,1. 7 (Dep. Ex. l)
p.24,1. 7 p. 24,1. 17

p. 28,1. 15 p. 28, l. 22

p. 28, l. 23 p. 29,1. 13

p.42,1. 5 p. 42,1. 8

.43,1.3 p.43,1.s

"U

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p. 43,1. 9 p. 43, l. 16
p. 44,1. 8 p. 44, l. 15
ESTIMATED TRIAL LENGTH/STATEMENT OF JURY TRIAL

This case is a jury trial currently set for August 29, 2005 at 9:30 a.m. This trial should take

from two to three days
AMOUNT OF ASCERTAINABLE l_)AMAGES

Plaintiff has attached a damages calculation on back pay, front pay and liquidated damages
'as EXHIBIT A to this Joint Pretrial Order. This damages calculation was previously provided to
Defendant through Rule 26 disclosures Plaintiff will supplement and utilize the appropriate
federal court interest rate in effect the week of trial Defendant objects to the damages calculation
of the Plaintiff as speculative and objects to the Plaintiff s EXI-IIBIT A. The issue of damages is a
subject of a Motion in Limine to be filed with the Court.

LIST OF INTERESTED ATTORNEYS

Attorr_levs for Plaintiff Trov L. Vaughan2 Jr.
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Pamela Brown
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Memphis, Tennessee 38103
(901) 522-8900
(901) 522-8219 (fax)
Copies of interested law firms’ letterheads are attached as EXHIBIT B.
LIST OF SPECIAL E UIPMENT

Counsel for Plaintiff and Defendant intend to access the Court’s video distribution system

and with the Court’s permission use a laptop computer to disseminate computer generated

evidence and video depositions

IT rs so oRDERED this 39 many of August, 2005.

 

SAMUEL H. MAYS, JR.
United States District Court Judge

FOR PLAINTIFF: FOR DEFENDANT:

 

 

David M. Rudolph Florence Johnson

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UNEITD sTAES Distch COURT - wESTNER DIS'RIC'T oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 2:03-CV-02470 was distributed by fax, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

